       Case 1:22-cr-00015-APM            Document 683          Filed 08/07/23     Page 1 of 1CO-290
 Notice of Appeal Criminal                                                                 Rev. 3/88



          United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                           )
                                                    )
                       vs.                          )        Criminal No. 22-cr-15 (APM)
                                                    )
  JOSEPH HACKETT                                    )


                                      NOTICE OF APPEAL


Name and address of appellant:                     United States of America




Name and address of appellant’s attorney:          Kathryn Rakoczy, Assistant US Attorney
                                                   Office of the US Attorney for DC
                                                   601 D Street, NW Room 5.5236
                                                   Washington, DC 20253

Offense: 18 USC Sec. 2384; 18 USC Sec. 1512(k); 18 USC Secs. 1512(c)(2) and 2; 18 U.S.C. Sec. 372

Concise statement of judgment or order, giving date, and any sentence:
     June 2, 2023, oral order of the district court vacating defendant's conviction as to Count 11 of the
     Seventh Superseding Indictment (Count 7 at trial) (tampering with documents or proceedings in
     violation of 18 U.S.C. Sec. 1512(c)(1)). See docket 6/2/2023 minute entry, entered June 2, 2023.

Name and institution where now confined, if not on bail: FCI Coleman - Low, located in Sumterville, FL


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.

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 DATE                                               APPELLANT
                                                        .DWKU\Q5DNRF]\
                                                    ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE         ✔
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                          YES          NO ✔
Has counsel ordered transcripts? 75$16&5,37+$6                YES ✔        NO
%((15(&(,9('                                                   YES          NO ✔
Is this appeal pursuant to the 1984 Sentencing Reform Act?
